Casé

fad NOD

Oo CO SS BD A

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

3:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelD.518 Page 1 of 21
SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
A Limited Liability Partnership
Including. Professional Corporations __
DOUGLAS R. HART, Cal. Bar No. 115673
JENNIFER B. ZARGAROEF, Cal. Bar No. 204382
DANIEL J. McQUEEN, Cal. Bar No. 217498
JULIE WONG, Cal. Bar No. 247342
333 South Hope Street, 48th Floor _
Los Angeles, California 90071-1448
Telephone: 213-620-1780
Facsimile: 213-620-1398
dhart@shep ardmullin.com
jzargarof@sheppardmullin.com
dmcequeen@sheppardmullin.com
jwong@sheppardmullin.com
Attorneys for Defendants LONGS DRUG
STORES CALIFORNIA, INC.; LONGS
DRUG STORES CORPORATION; LONGS
DRUG STORES CALIFORNIA, L.L.C.,
LONGS DRUG STORES, L.L.C., CVS
CAREMARK CORPORATION
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA
CHARLES JONES, individually, and Case No.: 08-cv-2156 W NLS
on behalf of other members of the
general public similarly situated, DEFENDANTS' MEMORANDUM
OF POINTS AND AUTHORITIES
Plaintiff, IN SUPPORT OF MOTION FOR
SUMMARY JUDGMENT OR
V. PARTIAL SUMMARY JUDGMENT
LONGS DRUG STORES Hearing Date: November 16, 2009
CALIFORNIA, INC., a California Time: 10:30 a.m.
corporation, LONGS DRUG STORES | Room: 7 |
CORPORATION, a Maryland NO ORAL ARGUMENT PURSUANT
corporation; LONGS DRUG STORES TO LOCAL RULE
CALIFORNIA, L.L.C., a California
limited liability corporation; LONGS (Filed concurrently with Notice of
DRUG STORES, L.L.C., a Maryland otion and Motion, Separate Statement
limited liability corporation; CVS of Undisputed Material Facts, Request
CAREMARK CORPORATION, a for Judicial Notice, Declarations of
Delaware corporation; Sandy Reynoso and Daniel J. McQueen,
and [Proposed] Order]
Defendants. oo
Complaint Filed: November 21, 2008]
rial Date: None Set

 

 

 

W02-WEST:1DJM1\402215157.1

DEFENDANTS’ MSJ: MEMORANDUM OF POINTS AND

AUTHORITIES

 
Casé

co ~ ON GN - Qe i) — on) So oO ~ ON Wn & hao No ot oS

 

 

3:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelD.519 Page 2 of 21

TABLE OF CONTENTS

Page
T. INTRODUCTION occ cccccccccceceeeeeeseeceneeenecenereeesnseeseatesenessaasereenseseneesensesssessaes |
Il. SUMMARY OF RELEVANT FACTS ooo. cccceceenee cere tenteeeerenseeeeeenesensneraes 2
I. ARGUMENTS AND AUTHORITIES oo... ce ceceeeeeeeeeeereeeneeceeseteaessesseneensaneaees 4
A. Plaintiff's Wage Statements Complied With Labor Code Section
QO cecccccccccesesessccesecssuceseeceeceseeceseseeceaeceeeceeeeeeeseseceeeesssaseeeseeeseseseeeeaeeeseees 4

B. Plaintiff's Claim Is Subject To Summary Adjudication Because He
Has Not Suffered Any Injury As A Result Of His Allegedly Defected
Paystubs .......cccccececcecesseeeeseeceeneeceneeseseeceseesteneessssseseeneeeseeaeseesensseseeeeeesaresens 10
C. Defendants Did Not Knowingly And Intentionally Violate The Law;
Thus, Plaintiff Cannot Recover Penalties 0.00... eeececeeeeeseeeeeneeetesseeeees 14
D. Because He Is A Former Employee, Plaintiff Lacks Standing To Seek
Injunctive Relief... cece eccerecneeceeeeeesceeeseseeccssaseesenessisecsseecseeneeeies 15

E. Because Plaintiff's Paystubs Were Legally Compliant, There Is No

Unlawful Behavior To Enjoin.........cceeceeeeeeereeeeseeeeeneeeeeeseseseetasaeessaeeeees 17
TV. CONCLUSION (WA ..ccccccccccccccceeeececcesececeeseseeeaecneeneeseesaeeseeesaeseeseseesessneeeenensess 17
-i-
WO2- WEST: 1DIMT402215157.1 DEFENDANTS’ MSJ: MEMORANDUM OF POINTS AND

 

AUTHORITIES

 
Casé

bo

Oo CO ~S DR OH & BW

10
il
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

3:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelD.520 Page 3 of 21

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TABLE OF AUTHORITIES

Cases

ACLU v. Lomax, 471 F.3d 1OLQ occ ccneeeeeeeeneeeseceeeneeeeaeseeetenaeeseneerenenes 15
Aguilar v. Association for Retarded Citizens, 234 Cal. App. 3d 21 oes 9
Allen v. Wright, 468 U.S. 737 .occccccccceccccccenceeeeseeeeeeecesneceaneseaeeessasecenaeesenanereneteres 15
Amaral v. Cintas Corp., 163 Cal. App. 4th LIS 7 occ cccecceeseeeeeeeneeenneeeeeseneeees 14
Baas v. Dollar Tree Stores, Inc., 2009 U.S. LEXIS S753 1 woe ceceeseceteeeeeeereeees 16
Barnhill v. Robert Saunders & Co., 125 Cal. App. 3d 1 o.oo cee eeceeeseeeteerseeeereneees 14
Bell v. Farmers Insurance Exchange, 87 Cal. App. 4th 805.00... ccceeeeceeeeseeeeneeeees 9
Brinkley v. Public Storage, Inc., 167 Cal. App. 4th 1278 ooo cc eeeeeeeeteee eres 14
California School of Culinary Arts v, Lujan, 112 Cal. App. 4th 16.000 eee 9
Clark v. City of Lakewood, 259 F.3d 996 woo... ccceccecescceeesesssssssssesseeseeseeseseesensnees 15
Credit Suisse First Boston Corp. v. Grunwald, 400 F.3d 1119 ee eeeeeeeneee 7
E.W. Bliss Co. v. Superior Court, 210 Cal. App. 3d 1254... eecceeesseeeeeeneeeeeenes 8
Elliot_v. Spherion Pacific Work, LLC, 572 F. Supp. 2d 1109.0... 4,5, 11, 14
Global Horizons, Inc. v. United States DOL, 510 F.3d 1054... ee entrees 17
Hodgers-Durgin v. De La Vina, 199 F.3d 1037 ooo. ecccccceeseeeeeeeeeeceeeenaneeeeseeeeeens 16
Huynh v. Chase Manhattan Bank, 465 F.3d 992 occ eeeeeeeeteeseereneeeeneeee 16
Lewis v. Casey, 518 U.S. 343 oo cceccccceccssnseecceessncccenesseeesseeeceneeeceeneeeeeseteneeeeereees 16
Meyer v. Sprint Spectrum LP, 45 Cal. 4th 634 ooo ceeseseeseececereneteeeconenee 12,13
Murphy v. Kenneth Cole Productions, Inc., 40 Cal. 4th 1094 woe 7,11
Napoto v. DHL Express, Inc., 2009 U.S. LEXIS 62891 oo ccceeeseseeeeeeeeeeanes 16
People v. Broussard, 5 Cal. 4th 1007... .ecccccccecssccsseeeseeeeeseeceneceneesenteceeessaeersnneesanes 7
Rubin v. Wal-Mart Stores, Inc., 599 F. Supp. 2d 1176... eeceeeeeeeeeeees 8, 9, 14
Starbucks Corp. v. Superior Court, 168 Cal. App. 4th 1436.0... ceeeesseeeeeneeeees 13
Villacres v. ABM Industries, Inc., 2009 U.S.Dist. LEXIS 5545. eeeeeeees 11
Walsh v. Nev. Dep't of Human Resources, 471 F.3d 1033 oo... eeceeeeseeeseseeeeeeeees 16
Woo. WEST IDIMIWODD51571 St SENDANTS WSI> MEMORANDUM OF POINTS AND

 

AUTHORITIES

 
Cas

oO IT BA A & WS WN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

# 3:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelD.521 Page 4 of 21

MEMORANDUM OF POINTS AND AUTHORITIES
1. INTRODUCTION

Plaintiff Charles Jones asserts a single cause of action under California
Labor Code section 226 against Defendants Longs Drug Stores California, Inc.,
Longs Drug Stores Corporation, Longs Drug Stores California, L.L.C., Longs Drug
Stores, L.L.C., and CVS Caremark Corporation. Jones was formerly employed by,
as a pharmacist at a Longs Drug Stores location in La Jolla, California location. He
quit his employment on or around December 7, 2007. He filed this lawsuit on
November 21, 2008.

Labor Code section 226 sets forth a list of up to nine items which must
be included on the itemized wage statements (i.e., paystubs) that employees receive
with their paychecks. Plaintiff asserts that his paystubs were unlawful because they
failed to: (1) include the complete name and address of his employer; (2) list his full
social security number; and (3) show his total hours worked.

Due to this purported violation, Plaintiff seeks the statutory penalty
provided by Labor Code section 226(e): "fifty dollars ($50) for the initial pay
period in which a violation occurs and one hundred dollars ($100) for... each
violation in a subsequent pay period, not exceeding an aggregate penalty of four
thousand dollars ($4,000)." Pursuant to Labor Code section 226(g), Plaintiff also
seeks injunctive relief to "ensure compliance" with the statute's requirements.

Plaintiff's complaint lacks factual and legal merit. Plaintiff cannot
recover section 226(e) penalties because his paystubs were fully compliant with the
law. Also, to recover penalties, Plaintiff must demonstrate that he suffered "injury
as a result of a knowing and intentional failure..." by Defendants to provide legally
sufficient paystubs. See Labor Code § 226(e). Here, as his sole allegation of
purported injury, Plaintiff asserts that he and the putative class were "injured by
Defendants’ intentional violation of California Labor Code section 226(a) because

they were denied both their legal right to receive, and their protected interest in

-|-
W02-WEST:1DJM1\402215157.1 DEFENDANTS’ MSJ: MEMORANDUM OF POINTS AND
AUTHORITIES

 

 

 
Casé@

Oo CO sD DB Ww FS Ww NH

nO &® WO HNO Fe DTD ODO MO HDT DB OF Se WD Ww — &

26
27
28

 

 

3:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelD.522 Page 5of 21

receiving, accurate, itemized wage statements under California Labor Code section
226(a)." (First Amended Complaint ("FAC") at 8:23-27.) In other words, the
"injury" Plaintiff alleges to support his claim for penalties due to a purported
violation of the statute is a violation of the statute itself. Plaintiffs circular
reasoning is inherently flawed and improper as a matter of law. Also, there is no
evidence that Defendants "intentionally" or "knowingly" violated the statute. As
such, Plaintiff's claim for penalties under section 226(e) is without support.

The claim for injunctive relief under Labor Code section 226(g)
likewise fails for at least two reasons. First, Plaintiff admits that he no longer works
for Defendants and, as such, there is no "real and immediate" possibility that he will
suffer further injury due to Defendants' acts. Therefore, Plaintiff lacks standing to
pursue injunctive relief. Second, Plaintiff cannot establish that a violation of Labor
Code section 226 actually occurred. Thus, there is no unlawful conduct to enjoin.

Because Plaintiff's clams under Labor Code section 226 are legally and
factually unsupported, Defendants respectfully request that summary judgment of

Plaintiff's complaint be granted.

Il. SUMMARY OF RELEVANT FACTS

Plaintiff is a pharmacist by profession. (Deposition of Charles Jones
("Jones") at 29:7-15.) (All cited deposition pages are attached as Exh. A to the
concurrently filed Declaration of Daniel J. McQueen.) On or around November 25,
2006, Plaintiff accepted employment with defendant Longs Drug Stores California,
Inc., as a pharmacist in the company's La Jolla, California location. (Separate
Statement of Undisputed Material Facts, Fact ("Fact") 1.) Plaintiff ended his
employment on or around December 7, 2007. (Fact 7.)

During his employment, Plaintiff received paystubs. (Fact 2.) Plaintiff
contends that his paystubs were legally insufficient for three reasons. (Jones at

41:17-42:7.) First, Plaintiff asserts that his paystubs incorrectly listed his employer

-2-
W02-WEST:1DJM1\402215157.1 DEFENDANTS’ MSJ: MEMORANDUM OF POINTS AND
AUTHORITIES

 
Caséd

0 Oo SN BO A SP OOO

No Bw KR KN KH NY NR RO et
Oo ~D DW A BB WD NY KY DTD OO MO HD DB A BF WwW NY =

 

 

3:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelD.523 Page 6 of 21

as "Longs Drugs Stores," as opposed to "Longs Drugs Stores California, Inc." (Fact
3,)!

Second, Plaintiff alleges that his paystubs were deficient because they
failed to include his full social security number. (Jones at 52:14-21; FAC at 8:15-
19.) Instead, Plaintiff's paystubs only listed the last four digits of his social security
number. (Fact 4.)

Finally, Plaintiff asserts that his paystubs violated the law because they
"failed to show the total actual number of hours worked by Plaintiff." (FAC at 8:15-
19; Jones at 41:17-42:7; 45:12-18.) Importantly, Plaintiff concedes that all of his
work hours were accurately shown on his paystubs. (Fact 5.) Plaintiff nevertheless
contends that his paystubs were defective because they failed to add up his different
work hours into a single figure. (Fact 6.) For example, between November 16 and
22, 2007, Plaintiff worked a total of 24 regular hours and 0.62 overtime hours, and
these hours are accurately shown on the relevant paystub. (Exh. C to McQueen
Decl.) However, Plaintiff contends that this paystub was unlawful because it failed
to include a single figure of 24.62 hours.

Plaintiff alleges that he was "injured" by each of these three purported
deficiencies by the mere fact — in and of itself — that he did not receive a legally
compliant paystub. (Fact 8.) Plaintiff admits that he suffered no other "injuries" or
"damages" due to his paystubs. (Fact 9.) For example, Plaintiff concedes that he

was correctly compensated at all times during his employment. (Fact 10.)

 

In his complaint, Plaintiff also asserts that his paystubs were deficient because

they did not contain the correct address of his employer. (Complaint at 6:5-
10.) At deposition, however, Plaintiff testified that there were only three
issues with his paystub and his employer's address was not one of them.
(Jones at 41:17-42:11.) Thus, Plaintiff has apparently abandoned his address-
related claim. Moreover, during the pertinent time period, the address of
Longs Drug Stores California, Inc. was P.O. Box 5222, Walnut Creek,
California 94596. (Declaration of Sandy Reynoso at 4/3.) This address was
noted on Plaintiff's paystubs. (Plaintiff's paystubs, attached as Exh. C to
McQueen Decl.) As such, there is no potential legal violation based on an
incorrect address.

3.
W02-WEST:1DIM1\402215157.1 DEFENDANTS’ MSJ: MEMORANDUM OF POINTS AND
AUTHORITIES

 
Casd

Oo CO SY DB DA SP WW Hw —

BR NM MB NH ON NR BRD BN
oO NN WO AH BP Ye BO KH CO CO OUST ONO SPOON OU US

hy

 

 

3:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelD.524 Page 7 of 21

Due to these alleged "injuries," Plaintiff seeks at least $5,000,000 in
penalties on behalf of himself and a putative class of individuals who worked as
hourly employees for "Defendants in the State of California within one year prior to
the filing of this complaint....". (FAC at 1:6-11; 3:22-25.) The complaint was filed
on November 21, 2008. Thus, this lawsuit relates to the period of November 21,
2007 to the present. Because Plaintiff only worked for Defendant until on or around

December 7, 2007, this lawsuit concerns only the last two weeks of his employment.

IL. ARGUMENTS AND AUTHORITIES
A. Plaintiff's Wage Statements Complied With Labor Code Section 226
Labor Code section 226(a) requires California employers to provide

employees with paystubs that "show" the following nine pieces of information:

(1) gross wages earned, (2) total hours worked by the employee... (3)
the number of piecerate units earned and any applicable piece rate if
the employee is paid ona piece-rate basis, (4) all deductions,
provided that all deductions made on written orders of the employee
may be aggregated and shown as one item, (5) net wages earned, 6)
the inclusive dates of the period for which the employee is paid, (7)
the name of the employee and his or her social security number,
except that by January 1, 2008, only the last four digits of his or her
social security number or an employee identification number other
than a social security number may be shown on the itemized
statement, (8) the name and address of the legal entity that is the
employer, and (9) all applicable hourly rates in effect during the pa
period and the corresponding number of hours worked at each hourly
rate by the employee.

Contrary to Plaintiff's assertion, his paystubs complied fully with each of these

requirements and, thus, summary judgment is warranted.

1. Plaintiff's Paystubs Properly Listed His Employer's Name
Plaintiff alleges that his paystubs were legally deficient because they
identified his employer as "Longs Drug Stores" instead of "Longs Drug Stores
California, Inc." Thus, the question becomes whether a statutory violation exists

simply because the term "California, Inc." was omitted. Recently, the court in Elliot

 

W02-WEST:1DIM1\402215157.1 DEFENDANTS’ MSJ: MEMORANDUM OF POINTS AND
AUTHORITIES

 
Casé

Oo CO Ns DB WA & WwW Hw

NB NB BN NR RO ND RD BR ek ks mk
OO “N BO OO BP WH BM FP Oo Oo OOH DH NH BR Ye NO UD

 

 

3:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelD.525 Page 8 of 21

 

v. Spherion Pacific Work, LLC, 572 F. Supp. 2d 1169 (C.D. Cal. 2008), explicitly
rejected such an argument.

In Elliot, the plaintiff was employed by "Spherion Pacific Workforce,
LLC," but her paystubs used the name "Spherion Pacific Work, LLC" (7e., "force"
was omitted from the word "Workforce.") Id. at 1179. The plaintiff argued that this
omission rendered her paystubs unlawful. The court disagreed, explaining that the

employer:

did not violate this section merely by slightly truncating its name on
the wage statements. If the legislature had intended to require an
employer to show its complete name on wage statements, it would
have stated so in this section. [I]nstead of requiring, an employer to
state its "complete" or "registered" name, section 226(a)(8) only
requires the employer to state its "name and address."

Id. at 1179-1180. The plaintiff's paystubs included a name and address that

reasonably identified her employer. Id. Thus, the court concluded: "As a matter of

law, Defendant's self identification on the wage statements is sufficient to satisfy

section 226(a)(8)."_ Id.

Elliot applies squarely to the present facts. Plaintiffs paystubs contain
only a "slightly truncated" version of his employer's name which provided more
than sufficient identification. (Fact 3.) As such, Defendants complied with Labor
Code section 226's requirement to include the "name" of Plaintiff's employer on his

paystubs.

2. Defendant Properly Included Only The Last Four Digits Of
Plaintiff's Social Security Number
Plaintiff asserts that Defendants violated Labor Code section 226 by
listing only the last four digits of his social security number, as opposed to his
complete social security number. This is not a legal violation. In fact, section 226
actually forbids an employer from including an employee's full social security

number on his or her paystub. Specifically, Labor Code section 226(a)(7) provides

5-
W02-WEST 1 DJIM1402215157.1 DEFENDANTS* MSJ: MEMORANDUM OF POINTS AND
AUTHORITIES

 
Cas

Oo Oo NY DB WA Fe WwW LB

bo ho ba bho bo bo bo bo i) — es — — pn — — tok pone a
oO ~~ aN WC = Land bo bh So \O GO ~ an LA a Lane bo bom ©

# 3:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelD.526 Page 9 of 21

that each paystub must contain the employee's "social security number, except that
by January 1, 2008, only the last four digits of his or her social security number
or an employee identification number other than a social security number may
be shown on the itemized statement." (Emphasis added.)

This provision was added to the Labor Code on January |, 2005 by SB
1618. See July 27, 2004 Senate Floor Analysis, attached as Exh. | to the
concurrently filed Request for Judicial Notice. As explained by the Senate Analysis,
the bill was intended to address "growing concerns about identity theft. It offers
needed protection to employees and will help stem identity theft crimes. Proponents
state that unauthorized use of SSNs is the most common way criminals are
committing identity theft." Id. at 3. To address these concerns, the bill provided
employers a three-year window between January 1, 2005 and January 1, 2008 to
phase out the use of full social security numbers and begin using the last four digits
or an employee identification number.

Here, Plaintiff's paystubs listed the last four digits of his social security
number as well as his employee identification number. (Fact 4.) Plaintiff's
employment ended on or around December 7, 2007. (Fact 7.) As such, Plaintiff's
paystubs were legally compliant "by January 1, 2008" as required by the plain
language of the statute. This being the case, Defendants fulfilled their legal
obligations.

It is anticipated that Plaintiff will argue that Defendants violated Labor
Code section 226 by listing only the last four digits of his social security number
prior to the statutory deadline of January 1, 2008. In other words, Plaintiff will
argue that Defendants broke the law by beating its time limit and, thereby, choosing
to act more aggressively than needed to protect employees from potential identity
theft. This argument ignores the plain language of the statute, which states that
employers must use the last four digits of an employee's social security number "by

January 1, 2008." The statute does not in any manner state or imply that employers

-6-
W02-WEST:1DJM1\402215157.] DEFENDANTS’ MSJ: MEMORANDUM OF POINTS AND
AUTHORITIES

 

 

 
Case

oO nN TO UR SP YH NY

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

3:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelD.527 Page 10 of 21

may only begin using the last four digits "on January 1, 2008." As such, Plaintiff's
argument is flawed on its face.

Further, it is nonsensical to suggest that Defendants violated the law by
moving more quickly than absolutely necessary to prevent possible harm to their
workforce. Indeed, by his argument, Plaintiff contends that the Legislature
recognized a pressing societal harm in 2005 (.e., identity theft linked to the
publication of full social security numbers), offered a solution in 2005 (Z.e., deletion
of full social security numbers from employee paystubs), but required that the
solution not be implemented — at the very soonest — until three years later in 2008.
This assertion makes no sense and would require the court to interpret the
Legislature's intent in an inherently implausible manner. Such an interpretation is
impermissible. See, e.g., People v. Broussard, 5 Cal. 4th 1067, 1071 (1993) (a
statute cannot be interpreted to require "absurd consequences."); Credit Suisse First
Boston Corp. v. Grunwald, 400 F. 3d 1119, 1126 cg" Cir. 2005) (in interpreting a
California statute, this court must "look to California principles of statutory

construction.") As such, Plaintiffs expected argument must be rejected.

3. Plaintiff's Paystubs Correctly "Showed" His Total Hours Worked
Plaintiff contends that his paystubs were defective because they did not
contain a single figure which added up his different types of work hours. Plaintiff's

interpretation of the statute is incorrect for at least two reasons.

a. Under The Plain Meaning Of The Statute, Plaintiff's
Paystubs "Showed" His "Total Hours Worked”
Absent ambiguity, the "plain and commonsense meaning" of the statute
governs. Murphy v. Kenneth Cole Productions, Inc., 40 Cal. 4th 1094, 1103 (2007).

"A dictionary is a proper source to determine the usual and ordinary meaning of a

 

WO02-WEST:1 DJIM1\402215157.1 DEFENDANTS’ MSJ: MEMORANDUM OF POINTS AND
AUTHORITIES

 

 
Case

Oo Oo 4 DB A BP Ww NH

oO ~ aN Un > La bo beet 2 Oo co ~ N Wn = Nand No me 2

 

3:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelD.528 Page 11 of 21

word or phrase in a statute." E.W. Bliss Co. v. Superior Court, 210 Cal. App. 3d
1254, 1258, fn. 2 (1989).

Labor Code section 226(a) requires employers to furnish paystubs
"showing" the employee's "total hours worked...." The American Heritage
Dictionary defines "showing" as "[t]he act of presenting or displaying." (The
American Heritage Dictionary, 4th Edition, 2000). To "present" is defined as "[t]o
offer for observation, examination, or consideration" and to "display" is defined as
"Itlo give evidence of; manifest." Id. Similarly, Webster's Dictionary defines
"show" as "to give indication or record of." (See http://www.merriam-
webster.com/dictionary/show).

Thus, under a plain reading of the statute, Defendants. complied with
the law so long as Plaintiff's paystubs "displayed," "evidenced" or "recorded"
information about Plaintiff's total hours of work. Here, it is undisputed that
Plaintiff's paystubs accurately displayed, evidenced and recorded all of his work
hours, albeit in separate categories. (Facts 5-6.) Thus, while Plaintiff quibbles with
the fact that his paystubs did not add up his different categories of work into a single
sum, the paystubs nonetheless complied with the law. Indeed, Plaintiff's argument
is meaningless given that the statute contains absolutely no mandate requiring
employers to "add up" or "summarize" all hours worked.

Recently, the court in Rubin v. Wal-Mart Stores, Inc., 599 F. Supp. 2d
1176 (C.D. Cal. 2009), accepted this common-sense interpretation of the statute. In
Rubin, the plaintiff alleged — precisely as Jones does here — that his paystubs were
unlawful because they failed to total up the different categories of work into a single
sum. See Rubin Complaint at 5:19-20; Exhibit 1 to Rubin Complaint.* When

considering this claim on the employer's 12(b)(6) motion, the court concluded that

 

A true and correct copy of the Rubin v. Wal-Mart complaint is attached to the
concurrently filed request for judicial notice as Exh. 2.

-8.
W02-WEST:1DJM1\402215157.1 DEFENDANTS’ MSJ: MEMORANDUM OF POINTS AND
AUTHORITIES

 

 
Case

—

Nn A Se & NS

oO 7; NS

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

3:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelD.529 Page 12 of 21

"The exhibit attached to the Complaint [i.e., the plaintiff's paystub] demonstrates, on
its face, that Plaintiff Rubin's pay stubs did include the total hours worked." Id. at
1179. (Emphasis in original.) Thus, the court held, the plaintiff's "claim fails as a
matter of law." Id. Because it utilizes a plain-language reading of Labor Code

section 226, Rubin is persuasive. As such, it should be followed.

b. Defendants Followed The DLSE's Interpretation Of The Law

Plaintiff's argument likewise fails because it contradicts the statutory
interpretation used by the California Division of Labor Standards Enforcement
("DLSE"). The DLSE is California's wage and hour law enforcement agency. See
California School of Culinary Arts v. Lujan, 112 Cal. App. 4th 16, 18 (2003). Asa
general rule, the courts defer to the agency charged with enforcing a law when
interpreting a law because the agency possesses expertise in the subject area.
Aguilar v. Association for Retarded Citizens, 234 Cal. App. 3d 21, 28 (1991). Thus,
court's routinely rely upon DLSE opinions when interpreting California wage and
hour statutes. See, e.g., Bell v. Farmers Insurance Exchange, 87 Cal. App. 4th 805,
815 (2001) ("it is clear that DLSE's interpretation... is entitled to great weight.").

On its official website, the DLSE includes an exemplar paystub which
provides guidance to California employers on how to comply with Labor Code
section 226. See http://www.dir.ca.gov/dlse/FAQ Paydays.htm. ("Click here for an
example of an itemized wage statement (pay stub) as required by Labor Code

Section 226....") The exemplar paystub is reproduced below:

-9..
WO2-WEST: 1DIM1\402215157.1 DEFENDANTS’ MSJ: MEMORANDUM OF POINTS AND
AUTHORITIES

 
Cas¢d

boron,

Go ODO wo HN DBD OH Be WwW WH

NM Bw KN KH KR RQ RD RR met
1.0 © 2 SO > © Os >

 

 

3:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelD.530 Page 13 of 21

 

ca ; Last 4 digits of the employee's
The naene and address Jeomal security number or an

of the legal entity that is : -
. eg tity = femployee 10 number
the employer i

 

 

 

 

 

 

 

 

on i a
a a”
i z

x.
SMITH AND COMPANY, INC.

erqf ihe inclusive dates of the

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

     

 

 

 

 

 

‘Marne oF the i ae U7” |fperiog for which the
employer 123 West Street Smalliown, CA 98765 | ” a eoplover Ig pale
en ¥. a Frail
SOCIAL SECURITY NO. PAY RATE PAY PERIOD
Johnson, Bob | RKK-KK-B7BO 18.00 regular 2/11/02 to 2/17/02
Yotal ae 27.00 overtirne ee PPAN deductions |
hours Oa pe ee
worked EARNINGS [HOURS |AMOUNT DEDUCTIONS AMOUNT
Regular 46.00 720.00 Federal VWW/r1 60.48
Overtime 2.00 64.00 FICA 49.67
Goss wages Medicare 12.36
earned CA State W/H 10.04
pe CA State D! 7.12
Toe A0tk 77.40
GROSS EARNINGS: 774.00]
TOTAL DEDUCTED: 217 O4
NET EARNINGS: 556.96]

 

 

 

 

 

Plaintiff's paystubs are essentially identical in format to the exemplar provided by
the DLSE. They both list hours worked as separate categories and — contrary to
Plaintiff's reading of the statute — they do not lump together all hours into a single
sum. Indeed, if Plaintiff's interpretation were adopted, paystubs would become
confusing and, thus, the statute's purpose would be obviated. Simply put, if all work
hours were added together, the employee could not easily ascertain how many hours
of overtime he worked and how many hours of regular time were worked. As such,
by separating different types of work hours, Defendants properly "showed" total

hours worked on Plaintiff's paystubs.

B. Plaintiff's Claim Is Subject To Summary Adjudication Because He Has
Not Suffered Any Injury As A Result Of His Allegedly Defected Paystubs
Assuming arguendo that Plaintiff's paystubs were non-compliant,
Plaintiff still cannot recover penalties because he did not suffer "injury as a result
of" any allegedly defective paystub. Labor Code section 226(e) only permits the
recovery of penalties to an “employee suffering injury as a result of a knowing and
intentional failure by an employer to..." provide lawful paystubs. (Emphasis

added.) Here, as his sole claim of injury, Plaintiff alleges in a circular fashion that

-10-
W02-WEST:1DJM1'402215157.1 DEFENDANTS’ MSJ- MEMORANDUM OF POINTS AND
AUTHORITIES

 
Casd

10
11
12

14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

3:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelD.531 Page 14 of 21

he was "injured" by the mere fact that he was denied the legal right to receive
accurate paystubs. (Facts 8-10.) This reasoning is legally flawed. In fact, the court
in Elliot, 572 F. Supp. 2d 1169, has already rejected this precise argument.

In Elliot, exactly as in the present case, the plaintiff asserted "that any
violation of section 226(a) automatically triggers an employee's entitlement to
damages and/or penalties under section 226(¢)." Id. at 1181. However, because
"this reading of section 226(e) ignores its plain language, which includes ‘suffering
injury’ as a prerequisite for an employer's recovery of damages or penalties for an
employer's failure to comply with section 226(a)...," the court found that the
plaintiffs argument was without merit. Id. "By employing the term ‘suffering
injury,' the statute clearly requires that an employee 1s not eligible to recover for
violations of section 226(a) unless he or she demonstrates some injury from the
employer's violation." Id. (Emphasis in original.) Any contrary argument
"effectively excises the phrase ‘suffering injury’ from section 226(e)" and, therefore,
"violates the canons of statutory construction requiring the Court to give effect to
statutes according to the usual, ordinary import of the language used...."_ Id.
(Internal cites and quotes omitted.) As Elliot cogently explained:

Had the legislature intended to expose an employer to liability for

violations regardless of whether any employee suffered injury, it

could have drafted the statute to read, "Any employee whose

employer fails to comply with subdivision (a) is entitled to

recover...." Instead, the Legislature ‘atten the provision with the

qualification that an "employee suffering injury" may recover for
Id. (Emphasis in original.) The Legislature must be presumed to have "meant what
it said" in drafting the statute. Murphy, 40 Cal. 4" at 1103. As such, to demonstrate
a viable claim for section 226(e) penalties, Plaintiff must assert something more

than a mere violation of the statute itself. He has not. Thus, his claim should be

summarily adjudicated. See also Villacres v. ABM Industries, Inc., 2009 US. Dist.

 

LEXIS 5545 at *9 (C.D. Cal. 2009) (while discussing a case brought by the same
-l1-
W02-WEST:1DIM1\402215157.1 DEFENDANTS’ MSJ: MEMORANDUM OF POINTS AND

AUTHORITIES

 
Casd

nm ff WY

6

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

3:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelD.532 Page 15 of 21

Plaintiff's counsel, the court noted "As Plaintiff presents no facts showing actual
injury, the Court concludes he does not have a basis for alleging the type of injury
under section 226(e) recognized by courts.") (On appeal.)

The California Supreme Court's recent holding in Meyer v. Sprint
Spectrum LP, 45 Cal. 4th 634 (2009), supports this conclusion. In Meyer, the
plaintiff sued under the California Consumer Remedies Legal Act ("CRLA")
regarding an allegedly unconscionable arbitration provision in her telephone
services agreement. Id. at 638. The CRLA forbids the inclusion of any
unconscionable provision in a customer service contract. Id. at 639. The statute
also states that any "consumer who suffers any damage as a result of the use or
employment by any person of..." such an unconscionable provision may collect no
"less than one thousand dollars ($1,000)." Id. Other than taking the time needed to
prosecute her claim in court, there was no assertion by the plaintiff that she had
suffered any independent harm linked to the contract provision in question. Id. at
639. Indeed, neither she nor Sprint had even sought to enforce the arbitration
clause. Id. Nevertheless, the plaintiff argued "that the very presence of
unconscionable terms within a consumer contract... constitutes a form of
damage..." which implicates the $1,000 penalty provision. Id. at 641.

The Supreme Court soundly rejected the plaintiff's argument based on
its plain reading of the statute. As the court noted, the CRLA provides that "Any
consumer who suffers any damage as a result of..." an unlawful contract provision
may recover statutory penalties. Id. (Emphasis in original.) Thus:

the statute provides that in order to bring a CLRA action, not only

must a consumer be exposed to an unlawful practice, but some kind

of damage must result. If the Legislature had intended to equate

“any damage” with being subject to an unlawful practice by

itself, it presumably would have omitted the causal link between

“any damage" and the unlawful practice, and instead would have
provided something like “any consumer who is subject to a method,

 

act, or practice dec ared to be unlawful by [the statute] may bring an
action” under the CLRA.
-12-
W03-WEST.1DIM1\402215157.1 DEFENDANTS’ MSJ: MEMORANDUM OF POINTS AND

AUTHORITIES

 
Casé

wm & GW NWN

So © NA

LO
Il
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

3:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelD.533 Page 16 of 21

Id. (Emphasis added.) The Legislature had not drafted the statute in this manner
and, as such, the Supreme Court concluded that a plaintiff must show actual injury
in order to recover. Because the plaintiff in Meyer could not show any purported
damage beyond a mere violation of the statute itself, she had no claim. Id.

To buttress its holding, the Supreme Court noted that the plaintiff's
construction of the statute would obviously "expand the ability of individuals to
bring lawsuits" and, therefore, "has costs as well as benefits." Id. at 646. However,
based on the statutory language, the court concluded that it is "apparent that the
Legislature, in weighing these costs and benefits in drafting the CRLA, set a low but
nonetheless palpable threshold of damage, and did not want the costs of a lawsuit to
be incurred when no damage could yet be demonstrated." Id.

The California Supreme Court's reasoning applies forcefully to this
matter, Just as in Meyer, this court must analyze a statute which forbids certain
behavior, but only allows a suit for penalties where the plaintiff can demonstrate that
he or she was injured "as a result of" the offending practice. Here, just like the
plaintiff in Meyer, Plaintiff concedes that he has suffered no independent damages
and, instead, argues that he was "injured" due to a purported violation of the statute
in and of itself. As the Supreme Court has already concluded when analyzing a
statute with nearly identical language, such a claim is simply not tenable.

Further, the policy concerns noted by the Supreme Court apply to this
matter. If this court allows Plaintiff's claim to survive, it will improperly "permit the
costs of a lawsuit to be incurred when no damage could yet be demonstrated." Id.

In fact, Plaintiff candidly seeks more than $5 million in penalties even though he has
suffered no legally cognizable injury. A statute should not be interpreted to allow
such a bizarre windfall. Id; see also Starbucks Corp. v. Superior Court, 168 Cal.
App. 4"" 1436, 1451 (2008) (a court must "narrowly interpret [a Labor Code
provision which provides for a $200 penalty] in accordance with the traditional

principle that the applicant be a person who has been aggrieved by the statutory

-[3-
WO02-WEST-1DIMi402215157.1 DEFENDANTS’ MSJ;: MEMORANDUM OF POINTS AND
AUTHORITIES

 
Casé

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

3:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelD.534 Page 17 of 21

violation. Any other construction would produce the absurd result of turning the
statute into a veritable 'adding machine’ that has been decried by our Supreme
Court.") (Emphasis in original.) Accordingly, Defendant respectfully requests that
Plaintiff's claim for penalties under Labor Code section 226 be summarily

adjudicated against him.

C. Defendants Did Not Knowingly And Intentionally Violate The Law;
Thus, Plaintiff Cannot Recover Penalties

As set forth by Labor Code section 226(e), statutory penalties are only
available where there is a "knowing and intentional failure" to provide legally
sufficient paystubs. When the requirements of a law are unclear, a "knowing and
intentional" violation does not exist so long as the employer can present a
reasonable defense that — if successful — would preclude recovery on the part of the
employee. See Barnhill v. Robert Saunders & Co., 125 Cal. App. 3d 1, 11 (1981);
Amaral v. Cintas Corp., 163 Cal. App. 4th 1157, 1201-1204 (2008) (penalties not
awarded under Labor Code section 226(e) because the law is uncertain and the
employer presented a good faith legal defense to the plaintiff's claims.)

Here, there is no California appellate authority which directly explains
the requirements of Labor Code section 226 as it relates to the three purported
violations asserted by Plaintiff (i.e., regarding the employer's name and address, the
last four digits of the employee's social security number, and "showing" total hours
worked).’ However, as noted, the DLSE paystub exemplar, Rubin v. Wal-Mart and
Elliot v. Spherion clearly support Defendants' position. Based on these authorities,

 

3 Note that in Brinkley v. Public Storage, Inc., 167 Cal. App. Ath 1278, 1286
(2008), the California Court of Appeal squarely rejected the plaintiff's
contention "that the receipt of an inaccurate paystub ipso facto constitutes
injury within the meaning of section 226, subdivision (e€)."| However,
Brinkley is currently on appeal relating to the meaning and impact of the
wor provide" in California's meal period statute, Labor Code section 512.
Thus, the decision cannot be used as precedent.

-|4-
WO02-WEST-1D/M1\402215157.1 DEFENDANTS’ MS): MEMORANDUM OF POINTS AND
AUTHORITIES

 
Case

B:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelID.535 Page 18 of 21

Defendants have presented a reasonable defense which ~ if successful — will
preclude any recovery by Plaintiff. Therefore, even if Defendants' wage statements
are found to be non-compliant, Defendants did not "knowingly and intentionally"

violate Labor Code section 226 and penalties would be improper.

D. Because He Is A Former Employee, Plaintiff Lacks Standing To Seek
Injunctive Relief

Labor Code section 226(g) permits an employee to "bring an action for
injunctive relief to ensure compliance with this section." Pursuant to this
subsection, Plaintiff seeks an unspecified form of injunctive relief. See FAC at 9:4-
6. To pursue this or any other claim before a federal court, Plaintiff must have
standing to sue. Allen v. Wright, 468 U.S. 737, 750 (1984). Where standing does
not exist, summary judgment ts appropriate. See, e.g., Clark v. City of Lakewood,
259 F. 3d 996, 1016 (9" Cir. 2001) (summary judgment affirmed where the plaintiff
lacked standing to challenge the statute in question).

To establish standing, "a plaintiff must show he has suffered an injury
in fact, that the injury is traceable to the challenged action of the defendant and that
the injury can be redressed by a favorable decision." Id. at 1006. "When evaluating
whether these three elements are present, [a court] must look at the facts as they
exist at the time the complaint was filed." ACLU v. Lomax, 471 F. 3d 1010, 1015
(2006). (Emphasis in original; internal quotes omitted for clarity.)

Further, if more than one remedy is requested, "a plaintiff must
demonstrate standing for each form of relief he seeks.... A determination that the
plaintiff has standing to seek damages does not ensure that the plaintiff can also seek
injunctive or declaratory relief." Clark, 259 F. 3d at 1006. To demonstrate standing
for injunctive relief, the plaintiff "must demonstrate a real or immediate threat of an

irreparable injury." Id. at 1007.

-15-
W02-WEST:1DJM1\402215157.1 DEFENDANTS’ MSJ: MEMORANDUM OF POINTS AND
AUTHORITIES

 

 

 
Casé

ww BN

eo SN A A

10
11
12
13
14

16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

3:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelD.536 Page 19 of 21

Here, it is undisputed that Plaintiff is no longer an employee of
Defendants. (Fact 17.) See also FAC at 5:17-20 ("Defendants employed Plaintiff...
from on or about November 2006 to on or about December 2007....") As such,
Plaintiff will not receive any further paystubs from Defendants — let alone legally
defective paystubs. Accordingly, Plaintiff lacks standing to sue for injunctive relief
under Labor Code section 226(g) because he does not face a "real or immediate
threat" of injury. See, e.g., Napoto v. DHL Express, Inc., 2009 U.S. LEXIS 62891
at *11 (N.D. Cal. 2009) (injunctive relief claim dismissed because "as a former
employee, Naupoto lacks standing to seek injunctive relief, because she cannot
show there is a real and immediate threat that she will suffer future wage and hour

violations."); Baas v. Dollar Tree Stores, Inc., 2009 U.S. LEXIS 57531 at *8 (N.D.

 

Cal. 2009) (injunctive relief claim dismissed because, as "former employees," the
plaintiffs "lack standing to seek injunctive relief because they cannot show that there
is areal and immediate threat that they will suffer future wage and hour

violations."); Walsh v. Nev. Dep't of Human Resources, 471 F. 3d 1033, 1037 (9

th

 

Cir. 2006) (former employee did not have standing to seek injunctive relief to halt
allegedly unlawful employment practices).

The fact that Plaintiff has asserted a class-action claim on behalf of
others who are currently employed and, therefore, may still receive allegedly
defective paystubs does not alter this analysis. See, e.g., Hodgers-Durgin v. De La
Vina, 199 F. 3d 1037, 1045 (9" Cir. 1999) ("Unless the named plaintiffs are
themselves entitled to seek injunctive relief, they may not represent a class seeking
that relief."); Lewis v. Casey, 518 U.S. 343, 357 (1996) ("That a suit may be a class
action... adds nothing to the question of standing. [N]amed plaintiffs who represent
a class must allege and show that they personally have..." the requisite standing. );
Huynh y. Chase Manhattan Bank, 465 F. 3d 992, 1002 at n. 7 (9" Cir. 2006) ("Tt is
well settled that at least one named plaintiff must satisfy the actual injury

component of standing in order to seek relief on behalf of himself or the class.")

-16-
W02-WEST:1DJM1\402215157.1 DEFENDANTS’ MSJ. MEMORANDUM OF POINTS AND
AUTHORITIES

 
Case

tne

co SF NSN ODO A Bf

10
11
12

14
15
16
17
18
19
20)
21
22
23
24
25
26
27
28

 

B:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelID.537 Page 20 of 21

(Emphasis in original; internal quotes omitted for clarity.) Here, as noted, Plaintiff.
lacks standing to seek injunctive relief. Thus, his request for such relief on behalf of

the putative class is likewise defective and subject to summary judgment.

E. Because Plaintiff's Paystubs Were Legally Compliant, There Is No
Unlawful Behavior To Enjoin

To obtain injunctive relief to enjoin unlawful conduct, Plaintiff must
necessarily demonstrate that unlawful conduct has in fact occurred. See, e.g.,
Global Horizons, Inc. v. United States DOL, 510 F. 3d 1054, 1058 (9"" Cir. 2007)
(injunctive relief improper where the plaintiff's claim lacks merit as a matter of law).
Here, as explained above, Plaintiff's paystubs complied with Labor Code section .
226. (Facts 18-23.) Therefore, Plaintiff's claim for injunctive relief should be

summarily adjudicated in Defendants' favor.

IV. CONCLUSION
For the foregoing reasons, Defendants respectfully request that this
Court summarily adjudicate Plaintiff's complaint.

f

Dated: October\ ’, 2009 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP

 

i

\

On

fp NaN
tS

By ty
DOUGLAS R. HART
JENNIFER B. ZARGAROF
DANIEL J. MCQUEEN
JULIE WONG

Attorneys for Defendants

-|7-
W02-WEST:1DJM1\402215157.1 DEFENDANTS’ MSJ: MEMORANDUM OF POINTS AND
AUTHORITIES

 

 
Case

NO OT fe O&O ON

Oe Cc MI

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

B:08-cv-02156-W-NLS Document 45-1 Filed 10/19/09 PagelD.538 Page 21 of 21

PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

fam employed in the County of Los Angeles; I am over the age of eighteen

years and not a party to the within entitled action; my business address is 333 South Hope
Street, 48th Floor, Los Angeles, California 90071-1448.

as:

On October 19, 2009, I served the following document(s) described below

DEFENDANTS' MEMORANDUM OF POINTS AND AUTHORITIES
IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT OR
PARTIAL SUMMARY JUDGMENT

on the interested parties as follows:

 

Marc Primo

Matthew T. Theriault

Dina Livhits

Initiative Legal Group LLP

1800 Century Park East, 2nd Floor
Los Angeles, CA 90067
telephone: 310-556-5637
facsimile: 310-861-9051

BY CM/ECEF SYSTEM: I caused the above-referenced document(s) to be sent by
electronic transmission to the Clerk's Office using the CM/ECF System for filing
which generated a Notice of Electronic Filing to the CM/ECF registrants in this
case.

FEDERAL: I declare that I am employed in the office of a member of the bar of
this Court at whose direction the service was made. I declare under penalty of
perjury under the laws of the United States of America that the foregoing is true and
correct.

Executed on October 19, 2009, at Los Angeles, California.

/s/ Lynda_G..Johnson
Lynda G. Johnson

 
